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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF COLORADO

In re:                                                 )
                                                       )
REAGAN, MAIREN R                                       )        Case No. 18-16796 MER
                                                       )
                               Debtor(s)               )        Chapter 7
                                                       )


                          CERTIFICATE OF NON-CONTESTED MATTER AND
                                 REQUEST FOR ENTRY OF ORDER


       JARED WALTERS, TRUSTEE, Movant, has heretofore filed a motion pursuant to Local Bankruptcy
Rule 9013-1 entitled TRUSTEE’S FINAL REPORT AND APPLICATION FOR COMPENSATION AND
REIMBURSEMENT OF EXPENSES (the “Application”). Movant hereby represents and shows the court:

1.       Mailing or other service of the Notice of Final Report was timely made on all claimants
         and other parties in interest pursuant to L.B.R. 9013-1, as is shown on the Certificate of
         Service filed on June 4, 2020.

2.       The docket numbers for each of the following relevant documents are:

         a.       the Application for Compensation and all documents attached thereto and served
              therewith (Docket No. 86);
         b.       the Trustee’s Final Report (Docket No. 85);
         c.       the Notice of Final Report (Docket No. 87);
         d.       the certificate of service of the Notice of Final Report, (Docket No. 87); and
         e.       the proposed order, (Docket No. 86).

3.      No objections to or requests for hearing on the Motion/Application were received by the
undersigned, or filed with the Court and docketed in the case file by the date designated in the
notice.
        WHEREFORE, Movant prays that the Court forthwith enter an Order, a form of which
was previously submitted, granting the requested relief.

Dated: June 30, 2020
                                                  RESPECTFULLY SUBMITTED,

                                                  By: _/s/ Jared Walters________
                                                      Jared Walters, # 32287
                                                      Trustee
                                                      PO Box 804
                                                      Eagle, CO 81631-0804
                                                      (970) 456-3395
